                                                                                Case 3:03-cr-00333-JSW Document 128 Filed 10/10/07 Page 1 of 1



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                                                                          6                              IN THE UNITED STATES DISTRICT COURT
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                                                                                                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          8
                                                                          9   UNITED STATES OF AMERICA,
                                                                         10                 Plaintiff,                              No. CR 03-00333-1 JSW
                                                                         11     v.                                                  ORDER DENYING WITHOUT
United States District Court




                                                                                                                                    PREJUDICE AS MOOT MOTION
                               For the Northern District of California




                                                                         12   BENJAMIN KERENSA,                                     TO MOTION TO CORRECT
                                                                                                                                    SENTENCE RE RESTITUTION
                                                                         13                 Defendant.
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                                                                         15          Based on the letter dated September 27, 2007 and filed on October 1, 2007, the Court
                                                                         16   HEREBY DENIES WITHOUT PREJUDICE AS MOOT Defendant’s motion to correct
                                                                         17   sentence. This Order terminates docket number 119.
                                                                         18          IT IS SO ORDERED.
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                                                                         20   Dated: October 10, 2007
                                                                                                                                    JEFFREY S. WHITE
                                                                         21                                                         UNITED STATES DISTRICT JUDGE
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